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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 JUDITH GODINEZ, Individually and                         Civil Action No. 1:16-cv-10766 (PBS)
 on Behalf of All Others Similarly
 Situated,

                                            Plaintiffs,
                           v.

 ALERE INC., et al.,

                                          Defendants.



                                    JOINT STATUS REPORT

        Pursuant to the Court’s September 4, 2018 Order (ECF No. 247), which granted the parties’

Joint Motion to Stay Proceedings (ECF No. 246), and further pursuant to the Parties’ October 1,

2018 Joint Status Report (ECF No. 248), the parties hereby report to the Court regarding the status

of their efforts to finalize the settlement papers.

        The parties are working cooperatively and in good faith to finalize the settlement papers

and have exchanged further revised drafts of a stipulation of settlement, notice of settlement, short

form notice of settlement, proposed order preliminarily approving the settlement, and proposed

judgment.

        After the parties enter a definitive stipulation of settlement, Lead Plaintiffs will promptly

move for preliminary approval of the settlement and certification of a class for settlement purposes

only. If the motion for preliminary approval of the parties’ proposed settlement is not filed by

November 29, 2018, the parties will file a joint status report no later than that date, updating the

Court on the status of their drafting efforts.
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Dated: November 1, 2018             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (“NEF”)

on this November 1, 2018.


                                                      /s/ Adam M. Stewart
                                                      Adam M. Stewart




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